                         Case 18-17727-LMI        Doc 44      Filed 04/26/19     Page 1 of 2




                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                                 www.flsb.uscourts.gov

       In re: Oscar Alechvargas                                          Case No. 18-17727-LMI
              Yaima Alechvargas                                          Chapter 13
                            Debtor(s)        /

                                             OBJECTION TO CLAIM

                                    IMPORTANT NOTICE TO CREDITOR:
                                  THIS IS AN OBJECTION TO YOUR CLAIM

               This objection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is objected to and what disposition of your claim is
        recommended.

               If you disagree with the objection or the recommended treatment, you must
        file a written response WITHIN 30 DAYS from the date of service of this objection,
        explaining why your claim should be allowed as presently filed, and you must serve
        a copy to the undersigned [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED
        OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

              If your entire claim is objected to and this is a chapter 11 case, you will not
        have the right to vote to accept or reject any proposed plan of reorganization until
        the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
        3018(a) temporarily allowing your claim for voting purposes.

               The written response must contain the case name, case number, and must be
        filed with the Clerk of the United States Bankruptcy Court.

                 301 North Miami Avenue, Room 150, Miami, FL 33128

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, Debtor objects to the following claim(s)
        filed in this case:

        Claim                                                                 Amount of
        No.             Name of Claimant                                      Claim

        8               LVNV Funding LLC C/O Resurgent Capital Services       $13,136.01

        Basis for Objection and Recommended Disposition

        On or about August 21, 2018, Creditor filed a secured proof of claim in the amount of $13,136.01
        with a secured portion of $4,900.00 and a general unsecured portion of $8,236.01 for a 2005 Suzuki
        GSX1300RK5 VIN: JS1GW71A652111672 (motorcycle). The motorcycle was stolen about ten years
        ago and no payments have been made since then. Thus, this claim is barred by the statute of
        limitations. Debtors request this claim be stricken and disallowed in its entirety.

LF-24 (rev. 12/01/09)                                 Page 1 of 2
                             Case 18-17727-LMI                  Doc 44          Filed 04/26/19            Page 2 of 2




        Claim                                                                                         Amount of
        No.                Name of Claimant                                                           Claim

        4                  Quantum3 Group LLC as agent for MidCountry Bank                            $5,868.22

        Basis for Objection and Recommended Disposition

        On or about August 6, 2018, Creditor filed a general unsecured proof of claim in the amount of
        $5,868.22 for money loaned. The Debtors do not recognize this claim and a review of their Schedule
        F claims does not list any such account number or claimant. The Claimant only provided an
        electronic copy of a purported “Closed-End Note” without the physical signatures of either debtor.
        Therefore, the Debtors take the position that the Creditor did not provide sufficient information and/or
        documentation to determine the basis of this claim. The Debtors object to allowance of the claim, in
        any amount, without prejudice to the Claimant filing an amended proof of claim with the appropriate
        documentation within 30 days from the date of this Objection. If no amendment is completed within
        said timeframe, the Debtors seek to strike and disallow the claim in its entirety. Debtors reserve the
        right to amend this objection upon receipt of additional documentation. Undersigned contacted
        claimant in an attempt to resolve these issues before filing the instant objection.

        WHEREFORE the above-mentioned Debtor, respectfully requests that the Court grant the relief
        sought herein. *Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to
        claim may be included in one pleading. (See Local Rule 3007-1(C).)

                                        CERTIFICATE OF SERVICE
              I HEREBY CERTIFY that a true copy of the foregoing was sent on April 26, 2019 electronically to
        Nancy K. Neidich, Trustee and mailed to:

        Resurgent Capital Services, LP                                                   Resurgent Capital Services, L.P.
        c/o Suzanne Dickson, Sec. BK Spec.                                               c/o Bryan Faliero, CEO, President
        PO BOX 10675                                                                     55 Beattie Place, Suite 110,
        Greenville, SC 29603-0675                                                        Greenville, SC 29601

        Quantum3 Group LLC                                                               Quantum3 Group, LLC
        c/o Neville Strandberg, Agent                                                    c/o Rui Cardoso (CEO)
        PO Box 788                                                                       12006 98th Ave NE, Suite 200
        Kirkland WA 98083-0788                                                           Kirkland, Washington 98034-4218


                                       CERTIFICATE OF ADMISSION
                 I HEREBY CERTIFY that I am a member of the Bar of the United States District Court for the
        Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court
        set forth in Local Rule 2090-1(A).
                                                                                 Respectfully Submitted:
                                                                                 Robert Sanchez, P.A.
                                                                                 Attorney for Debtor
                                                                                 355 West 49th Street
                                                                                 Hialeah, FL 33012
                                                                                 Tel. 305-687-8008
                                                                                 Fax. 305-512-9701
                                                                                 By: /s/ Robert Sanchez________________
                                                                                    [X]Robert Sanchez, Esq., FBN#0442161
        The party filing this objection to claim must file a certificate of service in accordance with Local Rule 2002-1(F).



LF-24 (rev. 12/01/09)                                                 Page 2 of 2
